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                UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

BRIAN TULLIS WILLIAMS,

      Petitioner,

v.                                                 Case No. 3:18cv638-LC-MJF

MARK S. INCH,

      Respondent.
                                            /

                                     ORDER

      This cause comes on for consideration upon the Magistrate Judge’s Report

and Recommendation dated September 10, 2020. (Doc. 31). The parties were

furnished a copy of the Report and Recommendation and were afforded an

opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). No objections have been filed.

      Having considered the Report and Recommendation, I conclude that it should

be adopted.

      Accordingly, it is ORDERED:

      1.      The Magistrate Judge’s Report and Recommendation (Doc. 31), is

adopted and incorporated by reference in this Order.
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      2.     The amended petition for writ of habeas corpus (Doc. 7), challenging

the judgment of conviction and sentence in State of Florida v. Brian Tullis Williams,

Escambia County Circuit Court Case No. 2013-CF-2193, is DENIED.

      3.     A certificate of appealability is DENIED.

      4.     The Clerk of Court is directed to close this case file.

      DONE AND ORDERED this 16th day of October, 2020.




                                 s /L.A. Collier
                                 LACEY A. COLLIER
                                 SENIOR UNITED STATES DISTRICT JUDGE




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